Case 3:20-cr-00608-B Document 24 Filed 10/05/21 Page1ofi PagelD 37
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS OCT - 5 2021
DALLAS DIVISION

UNITED STATES OF AMERICA MHA

v. § CASE NO.: 3:20-CR-608-B

ALONSO SILVA-VELIZ

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

ALONSO SILVA-VELIZ, by consent, under authority of United States v. Dees, 125 F.3d 261 (Sth Cir. 1997),
has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count | of the one-count
Indictment filed December 8, 2020. After cautioning and examining ALONSO SILVA-VELIZ under oath concerning each
of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense
charged is supported by an independent basis in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted, and that ALONSO SILVA-VELIZ be adjudged guilty of Tegal Reentry
After Removal from the United States, in violation of 8 U.S.C. § 1326(a) and have sentence imposed accordingly. After
being found guilty of the offense by the district judge,

The defendant is currently in custody and should be ordered to remain in custody.

The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
if released.

C] The Government does not oppose release.

O The defendant has been compliant with the current conditions of release.

O I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any other
person or the community if released and should therefore be released under § 3142(b) or (c).

The Government opposes release.

The defendant has not been compliant with the conditions of release.

If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
Government.

The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there is a
substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing evidence

September 21, 2021

NOTICE
Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its
service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States
District Judge. 28 U.S.C. §636(b)(1)(B).

 
